 

Case 4:06-cV-1OO79-KI\/|I\/| Document 22 Entered on FLSD Docket 01/04/2007 Page 1 of 4

IN THE UNITED STA'I`ES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF FLORIDA

Case No. 06-10079-ClV-MOORE

NANCY STARNES, et al.,

Plaintiffs,

v.

UNITED STATES OF AMERICA,
Defendant.

ORDER DENYING DEFENDANT’S MOTION TO DISMISS
THIS CAUSE came before the Court upon Defendant’s Motion to Dismiss for Lack of
Subject Matter Jurisdiction (DE # 12).
UPON CONSIDERATION of the motion and being otherwise fully advised in the

premises, the Court enters the following Order.

L Background

This suit arises out of an alleged sexual assault on Plaintiff Amanda Stames by Roy
Janniche while Starnes, a minor, was in the care of Jamelle Janniche, a daycare provider under the
Military Family In-Home Daycare Program. §§ generally, Compl. Plaintiffs base their single
claim on the negligence of the Defendant in the “certiflcation, operation, inspection, instruction,
training, management, and supervision of [the] daycare center.” Compl. at l. Plaintiffs claim this
Court has subject matter jurisdiction over this case pursuant to 28 U.S.C. § l346(b), which creates
jurisdiction over

civil actions on claims against the United States, for money damages . . . for. . .

personal injury . . . caused by the negligent or wrongful act or omission of any

employee of the Government while acting within the scope of his office or
employment, under circumstances where the United States, if a private person,

 

Case 4:06-cV-1OO79-KI\/|I\/| Document 22 Entered on FLSD Docket 01/04/2007 Page 2 of 4

would be liable to the claimant in accordance with the law of the place where the
act or omission occurred.

28 U.S.C. § l346(b), quoted in Pl. Resp. at 3. Defendant filed this Motion to Dismiss for Lack of
Subj ect Matter Jurisdiction and claims this Court lacks jurisdiction because the United States, if a
private person, would not be liable to Plaintiffs under Florida law. Therefore, the Motion’s
substance is that of a motion to dismiss for failure to state a claim upon which relief can be
granted under Florida law, pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure. _Sg
generally, Def. Mot. Defendant claims (A) Florida law does not create liability for Defendant for
“negligent certification, licensure, or authorization of a family home day care facility,” Def. Mot.
at 2, and (B) Defendant did not have an affirmative duty of care to protect Starnes. Def. Mot. at
14-18 (the section of Defendant’s Motion making this argument is actually titled “The United
States Did Owe An Affirmative Duty to Plaintiffs,” but this Court will treat the title as a typing
error, rather than an admission, as the substance of the section argues that no such duty was
owed).
_I_I_. Standard of Review

A motion to dismiss for failure to state a claim merely tests the sufficiency of the
complaint; it does not decide the merits of the case. Milburn v. United States, 734 F.2d 762, 765
(l lth Cir. 1984). On a motion to dismiss, the Court must construe the complaint in the light most
favorable to the plaintiff and accept the factual allegations as true. SEC v. ESM Group, Inc., 835
F.2d 270, 272 (1 lth Cir. 1988). Further, the Court should not grant a motion to dismiss “unless it
appears beyond doubt that the plaintiff can prove no set of facts in support of his claim which

Would entitle him to relief.” Conley v. Gibson, 355 U.S. 41, 45-46 (1957) (citations omitted);

South Fla. Water Mgmt. Dist. v. Montalvo, 84 F.3d 402, 406 (1 lth Cir. 1996). Speciflcally, “[i]t

 

Case 4:06-cV-1OO79-KI\/|I\/| Document 22 Entered on FLSD Docket 01/04/2007 Page 3 of 4

is a well-settled principle of law that a complaint should not be dismissed merely because a
plaintiffs allegations do not support the particular legal theory he advances, for the court is under
a duty to examine the complaint to determine if the allegations provide for relief on any possible
theory.” M, 478 U.S. 186, 201-02 (1986) (Blackmun, J., dissenting)
(quotations omitted); see MMM_IH_C., 116 F.3d 1364, 1369
(l lth Cir. 1997).

L Discussion

The Plaintiffs’ claim against the United States of America is based on 28 U.S.C. §
1346(b)(l) which is quoted above, the Federal Tort Clairns Act, codified at 28 U.S.C. 2671-80 et.
seq., and Florida common law of torts. M generally, Compl. Defendant argues that the United
States, treated as an individual, would not be liable under Florida law for the reasons discussed
below, and thus 28 U.S.C. § 1346(b)(1) does not grant subject matter jurisdiction over the present
claim.

Defendant claims Florida law creates no liability for “certification, licensure, or
authorization of a family home day care facility” Def. Mot. at 2. Defendant differentiates
between “military child development centers” which are “operated by the Secretary of a military
department” and the “family horne day care” services which are merely certified, licensed, or
authorized by Secretary. §§ at 3-4. Defendant asserts that Jamelle Janniche operated the latter
type, and that the Defendant’s role in her day care facility were strictly limited to “certification,
licensure or authorization.” id Defendant then cites cases in which governmental regulating
bodies were held not to owe a duty of care to individuals interacting with the regulated entities.
I_d. at 4-7 discussing Howell v. United States, 932 F.2d 915 (1lth Cir. 1991) and Brown v. Dep’t.
of Health and Rehab. Serv., 690 S.2d 641 (lst DCA 1997). Additionally, Defendant claims the

good samaritan doctrine does not create liability because Defendant did not “undertake a duty to

3

 

Case 4:06-cV-1OO79-KI\/|I\/| Document 22 Entered on FLSD Docket 01/04/2007 Page 4 of 4

render services to the plaintiffs,” or “assume a duty to plaintiffs by certifying Jamelle Janniche.”
Def. Mot. at 8-10.

Defendant’s arguments against liability hinge on its characterization of the government’s
involvement with Jamelle Janniche’s day care facility as limited to “licensing, perrnitting,
certification, or authorization.” Def. Mot. at 7. Plaintiffs’ complaint, however, alleges that
Defendant was not only responsible for those tasks, but also operated, supervised, and managed
the facility, including training and instructing the staff. Cornpl. at l. Defendant does not argue
that the manager or operator of a day care facility cannot be held liable under a negligence theory
for the sexual molestation of a child in its care, and admits that it would owe a duty to “safeguard
and protect children entrusted to its care” in a military child development center. Def. Mot. 15-
16. Plaintiff has alleged Defendant had control of the day care facility, which, if true, could
provide grounds for finding the Defendant had, or assumed, a duty to protect Starnes. S_ee_ m
United States, 838 F.2d 220, 225 (7th Cir. 1988).

m Conclusion

Based on the foregoing, it is

ORDERED AND ADJUDGED that Defendant’s Motion to Dismiss (DE # 12) is
DENIED. The Plaintiffs have alleged facts which may entitle them to relief under Florida law,
giving this Court subject matter jurisdiction over this case under 28 U.S.C. § l346(b).

DoNE AND oRDERED in chambers at Miami, Florida, this?f{éay of December, 2006.

VW»€

/l<. MrciHAEL ix’iooRE
UNITED STATES DISTRICT JUDGE
cc: All Counsel of Record

